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                  EXHIBIT B-001
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                    IN THE SUPERIOR COURT OF FULTON COUNTY
                               ATLANTA JUDICIAL CIRCUIT                                      —
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                                   STATE 0F GEORGIA
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IN RE: REQUEST FOR                                                      é
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         SPECIAL PURPOSE                                                                    451/
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         GRAND JURY                                                       (
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                                                                                      FULTON CC! ‘_N"'Y.


               ORDER APPROVING REQUEST FOR SPECIAL PURPOSE                                                 U
               GRAND JURY PURSUANT TO O.C.G.A. 815-12—100. et sea.

       The District Attorney for the Atlanta Judicial Circuit submitted to the judges of the

Superior Court Of Fulton County a request to impanel a special purpose jury for the purposes set

forth in that request. This request was considered and approved by a majority of the total

number of the judges of this Court, as required by O.C.G.A. §15-12-100(b).

       IT IS THEREFORE ORDERED that a special purpose grand jury be drawn and

impaneled to serve as provided in O.C.G.A. § 15-12-62.1, 15-12-67, and 15-12-100, to

commence on May 2, 2022, and continuing for a period not to exceed l2 months. Such period

shall not include any time periods when the supervising judge determines that the special

purpose grand jury cannot meet for safety or other reasons, or any time periods when normal

court operations are suspended by order of the Supreme Court of Georgia or the Chief Judge of

the Superior Court. The special purpose grand jury shall be authorized to investigate any and all

facts and circumstances relating directly or indirectly to alleged violations of the laws of the

State of Georgia, as set forth in the request of the District Attorney referenced herein above.

       Pursuant to O.C.G.A. § 15-12—101(a), the Honorable Robert C. I. McBurney is hereby

assigned to supervise and assist the special purpose grand jury, and shall charge said special

purpose grand jury and receive its reports as provided by law.
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       This authorization shall include the investigation of any overt acts or predicate acts

relating to the subject of the special purpose grand jury’s investigative purpose. The special

purpose grand jury, when making its presentrnents and reports, pursuant to O.C.G.A. §§ 15-12-

71 and 15-12-101, may make recommendations concerning criminal prosecution as it shall see

ﬁt. Furthermore, the provisions of O.C.G.A. § 15—12-83 shall apply.

       This Court also notes that the appointment of a special purpose grand jury will permit the

time, efforts, and attention of the regular grand jury(ies) impaneled in this Circuit to continue to

be devoted to the consideration of the backlog of criminal matters that has accumulated as a

result of the COVID—19 Pandemic.

       IT IS FURTHER O I ' ED that this Order shall be ﬁled in the Ofﬁce of the Clerk of

the Superior Court of Fulto   Count

        SO ORDERED. TH          25 dA       OF                             2022.




                               CHRISTOPHER s. BRASHERFGHIEF JUDGE
                               Superior Court of Fulton County
                               Atlanta Judicial Circuit
